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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN DOE,
                                                      Case No. 22-cv-4925
               Plaintiff,
                                                      Judge Jorge L. Alonso
v.
                                                      Magistrate Gabriel A. Fuentes
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE "A",
               Defendants.

                      MOTION TO INCLUDE DEFENDANTS TO
                PLAINTIFF’S MOTION FOR DEFAULT AND SANCTIONS

        NOW COMES Plaintiff, UPROOT LINT, LLC, by and through its attorneys, SAPER

LAW OFFICES, LLC, and moves this Court to include Defendants Tailaen (Doe. #174) and

Feenwsy (Doe. #201) (the “Defendants”) to Plaintiff’s June 7, 2023 Emergency Motion for

Sanctions and Default (Dkt. 170) (the “Motion”). In support of this motion, Plaintiff states as

follows:

        Defendants’ counsel, Wes Johnson, represents the five remaining defendants in this matter,

three being the subject of the original Motion Defendants Does #138 (OJJ-LL), #190 (KEHOO),

#252 (ILAIQKOLLC) and the two Defendants now sought to be included, Doe #174 (Tailaen) and

Doe #201 (Feenwsy). Defendants’ counsel has represented these five Defendants, collectively and

at times as a unitary unit, for the duration of the case. Specifically, on multiple occasions attorney

Johnson communicated on behalf of these five defendants and sought settlement for these

defendants collectively. Further, when attorney Johnson initiated discovery requests to Plaintiff,

he sent those requests on behalf of all five defendants collectively.




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        Plaintiff did not initially name the Defendants, Doe #174 (Tailaen) and Doe #201

(Feenwsy), in Plaintiff’s original Motion because these Defendants did not file the Combined

Opposition to Motion for Preliminary Injunction and Motion to Dissolve Temporary Restraining

Order (Dkt. 41). However, despite its efforts in this case Plaintiff has been unable to engage with

these Defendants to set a discovery conference pursuant to Fed. R. Civ. 26(f). Further, Attorney

Johnson confirmed on July 5, 2023 in a communication with Plaintiff’s counsel, that he has

received no communication from Defendants, as they have ostensibly decided to ignore the

litigation. It was further communicated to attorney Johnson that Plaintiff would proceed with this

Motion to Include Defendants if Plaintiff did not promptly receive a response from these

Defendants. Plaintiff has received no response from these Defendants and has not received any

indication from attorney Johnson that they intend on responding or engaging in this litigation

process.

        Plaintiff therefore submits that including these Defendants in its Motion is appropriate

because the conduct that is the basis for the sanctions sought as to the three named defendants is

paralleled by these two Defendants. Moreover, these five defendants are the only remaining

defendants in this proceeding. Including these Defendants to Plaintiff’s Motion would limit further

prejudice to Plaintiff.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court include the Defendants

as parties to Plaintiff’s Motion.



Date: July 6, 2023                                   Respectfully submitted,

                                                     /S/DALIAH SAPER
                                                     DALIAH SAPER (ARDC NO. 6283932)
                                                     Brandon Campillo (ARDC No. 6338787)
                                                     SAPER LAW OFFICES, LLC

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                                 CERTIFICATE OF SERVICE
       I hereby certify that on July 6, 2023, I will electronically file the foregoing with the Clerk
of the Court using the CM/ECF system and I will serve a copy of this Motion on Defendants’
counsel via email.
                                                                       /s/ Daliah Saper
                                                                         Daliah Saper




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